                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF MISSOURI
                              WESTERN DIVISION

HISCOX INSURANCE COMPANY                     )
INC. et al                                   )
                                             )
                       Plaintiffs,           )
                                             )       Case No. 4:20-CV-00237-NKL
vs.                                          )
                                             )       March 28, 2022
WARDEN GRIER, LLP,                           )
                                             )       Day ONE
                       Defendant.            )
                                             )

                                     MINUTES OF JURY TRIAL

Honorable Nanette K. Laughrey presiding at Kansas City, Missouri.
___________________________________________________________________________
Time: 8:35 a.m. - 5:09 p.m.
Appearances:
Plaintiff by: Daniel Blegen & Michael Seitz
Defendants by: Robert Horn & Andrea McMurtry
 Remarks                                                    Witness Testifying
 Pretrial Conference held at 8:35 a.m. – 8:55 a.m.
 Voir dire began at 9:12 a.m. Panel sworn and questioned
 by the Court. Individual voir dire conducted. Preemptory
 strikes made by the parties. Court in recess 11:43 a.m.
 The selected jurors were seated at 11:59 a.m. and sworn.
 Jury instructions read to the jury.
 Break 12:11 p.m. – 1:11 p.m.
 Court reconvenes at 1:11 p.m. Opening statements
 presented by the parties. Plaintiff from 1:12 p.m. to 1:31
 p.m. Defendant from 1:32 p.m. – 1:59 p.m.
 The plaintiff began presenting evidence at 2:00 p.m.       Jeremy Pinchin
                                                            Direct, 2:00 p.m. -3:01 p.m.
 Break 3:02 p.m. – 3:16 p.m.                                Cross, 3:25 p.m. – 3:46 p.m.

 Court reconvenes at 3:25 p.m. Plaintiff plays direct           Deposition of David Nevetta
 examination of deposition designation of David Nevetta.        Direct, 3:50 p.m. - 5:03 p.m.

 Court in recess at 5:09 p.m. and will reconvene at 9:00 a.m.
 on 03/29/2022.
Court Reporter: Katie Wirt
Courtroom Deputy: Tania Lock

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